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 Liaison Counsel for Plaintiffs and the Class

 [Additional Counsel on Signature Page]

                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


  IN RE NEW JERSEY TAX                  Master Docket No.
  SALES CERTIFICATES                    3:12-CV-01893-MAS-TJB
  ANTITRUST LITIGATION



               NOTICE OF PLAINTIFFS’ MOTION TO AUTHORIZE
             CY PRES DISTRIBUTION OF REMAINING SETTLEMENT
               FUND, OR, IN THE ALTERNATIVE, FOR A SECOND
                    DISTRIBUTION OF SETTLEMENT FUND



 TO: ALL COUNSEL IN THE CAPTIONED MATTER

            PLEASE TAKE NOTICE that on July 6, 2020 at 9:00 am, or as soon

 thereafter as counsel may be heard, Plaintiffs will move before the Honorable

 Michael A. Shipp, U.S.D.J., at the Clarkson S. Fisher Building & U.S. Courthouse,

 402 East State Street, Trenton Clarkson S. Fisher Building & U.S. Courthouse, 402

 East State Street, Trenton, NJ 08608, for an order authorizing Plaintiffs to have the


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 Court-appointed claims administrator—Gilardi & Co, LLC (“Gilardi”)—distribute

 the remaining amount from the Settlement Fund cy pres to the following four

 organizations, divided evenly: 1) Risklink.org; 2) the New Jersey Citizen Action

 Fund; 3) the Public Justice Foundation; and 4) Legal Services of New Jersey—

 Campaign for Justice, as well as authorizing a payment of $177,402.35 to Gilardi

 for the work Gilardi performed as claims administrator in this matter. In the

 alternative, Plaintiffs will move for an order to allow Gilardi to issue a second

 distribution of the remaining Settlement Fund to Settlement Class members that

 filed valid claims, along with authorizing a payment of $177,402.35 to Gilardi for

 the work Gilardi performed as claims administrator in this matter.

            PLEASE TAKE FURTHER NOTICE that in support of this motion,

 Plaintiffs will rely upon the accompanying Memorandum of Law and the Third

 Supplemental Declaration of Kenneth Jue on Behalf of the Settlement

 Administrator. A proposed form of Order is also submitted herewith.

                                          LITE DEPALMA GREENBERG, LLC

   Dated: June 4, 2020                     /s/ Bruce D. Greenberg______________
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                                      Class Counsel




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